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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

FlavaWorks Entertainment, Inc.,             )
Blatino Media, Inc.,                        )
                     Plaintiff,             )       Case No. : 1:24-cv-09725
                                            )
       v.                                   )
                                            )       JURY TRIAL DEMANDED
Joel Lewitzky,                              )
John Doe 1 (username augire2)               )
John Doe 2 (username batsu454)              )
John Doe 3 (username blackbike20)           )
John Doe 4 (username Cards1uk)              )
John Doe 5 (username Chaman)                )
John Doe 6 (username Clorino404)            )
John Doe 7 (username Daledale)              )
John Doe 8 (username Daleorama)             )
John Doe 9 (username Dave858)               )
John Doe 10 (username ekospirit)            )
John Doe 12 (username Hubrys)               )
John Doe 13 (username Joewija)              )
John Doe 14 (username Lilraverprep)         )
John Doe 15 (username Luvpecs)              )
John Doe 17 (username Paulrc)               )
John Doe 18 (username Slchung)              )
John Doe 19 (username Thomblack)            )
John Doe 20 (username Trashcat)             )
John Doe 21 (username Yatjug)               )
John Doe 23 (username xaoslao)              )
       Defendants.                          )

                PLAINTIFFS’ MOTION TO AMEND THE COMPLAINT

       PLAINTIFF’S MOTION TO AMEND THE COMPLAINT AND ADD NEW
                             DEFENDANTS

Plaintiff, Flava Works Entertainment Inc and Blatino Media Inc, by and through their
undersigned counsel, pursuant to Federal Rule of Civil Procedure 15(a)(2), respectfully moves
this Court for leave to file an amended complaint to add new defendants and amend the existing
claims. In support of this motion, Plaintiff states as follows:

   1. Plaintiff filed the original complaint on October 8, 2024.
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   2. Since the filing of the original complaint, Plaintiff has uncovered additional facts during

       the course of investigation that implicate additional parties as defendants to this action.

   3. Federal Rule of Civil Procedure 15(a)(2) provides that a party may amend its pleading

       with the court’s leave, and such leave should be freely given when justice so requires.

   4. Courts within this district have consistently held that leave to amend should be granted

       unless there is undue delay, bad faith, repeated failure to cure deficiencies, undue

       prejudice, or futility of amendment.

   5. Plaintiff has recently learned that John Doe 24 (Username DupontBoy), John Doe 25
       (Username gabej25), John Doe 26 (Username rlind50688),John Doe 27 (Username
       Cuzz1j), John Doe 28 (Username aircal72), John Doe 29 (Username umpf), John Doe 30
       (Username WillieD) played a significant role in the violating and distributing Plaintiff’s
       protected content.
   6. The proposed amendment does not introduce entirely new claims but rather elaborates on

       existing claims with additional relevant facts and parties.

   7. Granting this motion will not cause undue delay or prejudice to the existing Defendants,

       as the case is still in the early stages of litigation.

   8. Allowing the amendment will promote judicial efficiency by resolving all related claims

       and disputes in one action.

   9. In light of the above, Plaintiff respectfully requests that the Court grant leave to amend

       the complaint.


WHEREFORE, Plaintiff respectfully requests that this Court:


   1. Grant Plaintiff leave to file an amended complaint;

   2. Allow Plaintiff to add John Doe 24 (Username DupontBoy), John Doe 25 (Username

       gabej25), John Doe 26 (Username rlind50688),John Doe 27 (Username Cuzz1j), John
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      Doe 28 (Username aircal72), John Doe 29 (Username umpf), John Doe 30 (Username

      WillieD) as defendants in this action; and

  3. Grant such further relief as this Court deems just and proper.




                                                   /s/ Hameed Odunewu
                                                   Attorney for Plaintiffs

FlavaWorks Entertainment, Inc.
Blatino Media, Inc.
2705 West Fulton St
Chicago, IL 60612-2003
(240) 918-2785 Telephone
Hameed@flavaworks.com
